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  7       11/18/2020 Twitter, @OANN ("Dominion Scandal Goes Worldwide with Michael Johns")
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  22      11/27/2020 OAN Article, "Sidney Powell Launches Election Lawsuits..."
  23      11/27/2020 Twitter, @OANN ("Sidney Powell Launches Election Lawsuits...")
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  24      11/27/2020 Lawsuits...")
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  30      12/7/2020    OAN Article, "Chairman Of Smartmatic's Parent Company..."
  31      12/7/2020    Twitter, @OANN ("Chairman Of Smartmatic's Parent Company...")
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  40        5/3/2021   Transcript, Mike Lindell Tackles Election Fraud
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  46      12/11/2020   Retraction Demand Letter from Smartmatic to OANN
  47      10/27/2020   Second Retraction Demand Letter from Smartmatic to OANN
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  56                   Dominion Voting to Implement New Verified Paper Ballot System
  57       1/6/2021    Georgia Secretary of State Letter to Congress
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  60      11/6/2020    Michigan Department of State Press Release
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  63                   Systems in Place by End of 2019
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  70                   Wisconsin Election Commission, Voting Equipment
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  71      11/16/2020   Trump to Biden
  72                   Nevada Secretary of State, Voting System Testing and Security List
                       Nevada Governor, Gov. Sisolak issues statement on President Trump’s comments on
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  74                   Facts v. Myths: Nevada 2020 Post-General Election
  75      11/14/2020   Smartmatic Website, Smartmatic Fact-checked
  76      11/16/2020   Smartmatic Website, Smartmatic Fact-checked
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                       Dominion Website, Statement on Viral Claims/Rumors About Dominion Voting
  80      11/7/2020    Systems

  81      11/13/2020   Dominion Website, Election 2020: Setting the Record Straight: Facts & Rumors
  82      11/17/2020   Dominion Website, Setting the Record Straight: Facts & Rumors
  83      11/21/2020   Dominion Website, Setting the Record Straight: Facts & Rumors
  84      11/25/2020   Dominion Website, Setting the Record Straight: Facts & Rumors
  85      11/26/2020   Dominion Website, Statement from Dominion on Sidney Powell's Charges

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  89      11/26/2020 ES&S Website, Getting the facts straight about elections
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 118      11/11/2020 NYT Article, No, Dominion voting machines did not delete Trump votes.
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 130       12/3/2020 Commission Facilitates Fair and Secure Elections
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 132                 U.S. EAC, Voting Systems by Jurisdiction
 133                 Verified Voting Website, The Verifier – Search – November 2020
 134                 CISA, #Protect2020 Rumor vs. Reality
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